                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION


RICHARD J. HILL,

        Plaintiff,
                                                    Case No. 2:19-cv-159
v.
                                                    Hon. Hala Y. Jarbou
JUSTIN WONCH, et al.,

      Defendants.
____________________________/

                                            ORDER

        The Court held a motion hearing on the record, with all parties present, on March 8, 2022.

For the reasons stated on the record,

        IT IS ORDERED that Plaintiff’s Motion to Amend Expert Disclosure and Substitute

Expert Witness (ECF No. 71) is GRANTED.

        IT IS FURTHER ORDERED that Defense Counsel’s hourly fee be reimbursed for the

time spent researching Chief Isaiah McKinnon.

        IT IS FURTHER ORDERED that there shall be an EXPEDITED DISCOVERY

DEPOSITION for the substituted Plaintiff’s expert, to be completed by March 31, 2022.



Date:     March 8, 2022                              /s/ Hala Y. Jarbou
                                                    HALA Y. JARBOU
                                                    UNITED STATES DISTRICT JUDGE
